


  The Court, stated that the case was within the spirit of the 20th rule of Court, although that rule applied) in terms, only to writs of error.
 

  Motion granted.
 

  Order.- — A certificate, from, the Clerk of the Circuit Court for the District of Kentucky, stating that an appeal had been taken in this case in May term, 1819, from the decree of the said Circuit Court, having been produced and filed, and it appearing that the record in said cause has not been filed: on motion of Mr. Hardfri, of counsel for the respondents, it is ordered, that the said appeal be and the same is hereby dismissed.
  
   a
  




   a
  



   Vide new rule of Court of the present term. Ante. Rule XXXII.
  
